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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

  JOHN DOE,                               §
                                          §
         Plaintiff,                       §
                                          §
  v.                                      § Civil Action No. 3:25-CV-0057-X
                                          §
  VICTORIA SERPA,                         §
                                          §
         Defendant.                       §
                                          §

                      MEMORANDUM OPINION AND ORDER

       On January 14, 2025, Plaintiff John Doe requested an ex parte temporary

restraining order (TRO) and preliminary injunction from the Court. (Doc. 10). The

Court granted the TRO and ordered Defendant Victoria Serpa to respond by January

23, 2025, as to a preliminary injunction. (Doc. 11). Defendant never appeared,

though Doe served her.       Therefore, the Court GRANTS Doe’s motion for a

preliminary injunction, converting its prior TRO with little alteration.

                                  I. Background

       This case arises from alleged “revenge porn.” Plaintiff John Doe initiated this

action against his former girlfriend, Victoria Serpa, after she shared a sexually

explicit photo of Doe. The two were romantically involved from May 2023 to March

2024, during which time Doe sent a sexually explicit image of his genitalia to Serpa.

Doe moved in with Serpa in May of 2023, at which time he alleges he also left his job

to spend more time with her. When the honeymoon period turned sour two months

later, Doe moved out and began looking for a new job.

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      A few months later, Doe found his dream job. He connected with an artificial

intelligence company that expressed interest in hiring him around May 2024. The

job entailed a leadership role, lucrative compensation, equity in the fledgling

company, and the opportunity to work with a breakthrough technology. Doe and the

company agreed to formalize this offer once the company was ready to initiate sales

and marketing activities. The company proceeded to set up a company email for Doe,

make hotel reservations in his name, and buy him tickets to attend a future trade

show that was intended to coincide with his hiring. It also planned a press release to

announce Doe’s hiring.

      Unfortunately, Doe’s new dream job was materializing as his relationship was

falling apart. A month after he and Serpa broke up in March 2024, Serpa began

sending disparaging statements about Doe to his future employers. She thought the

company had already hired Doe, and Doe believes she wanted to get him fired. When

the company did not fire Doe, Serpa sent the sexually explicit photo of Doe to one of

the company’s co-founders, Dan Vencu, through a private message on LinkedIn.

Though Doe attended the trade show on behalf of the company, the company never

issued its planned press release and ultimately rescinded its offer.

      Doe then filed this action and sought a TRO and preliminary injunction.

                                II. Legal Standard

      Preliminary injunctions serve to preserve the status quo and prevent

irreparable harm to the movant so the court can “render a meaningful decision after




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a trial on the merits.” 1        If the movant satisfies “the four prerequisites for the

extraordinary relief of preliminary injunction,” the district court has discretion to

grant the relief. 2 The movant must establish “(1) a substantial likelihood of success

on the merits; (2) a substantial threat of irreparable harm if the injunction is not

granted; (3) that the threatened injury outweighs any harm that may result from the

injunction to the non-movant; and (4) that the injunction will not undermine the

public interest.” 3

                                         III.    Analysis

                      A. Doe will likely succeed on the merits.

       The first element looks to success on the merits. Doe brings his claims under

15 U.S.C. § 6851, Texas Civil Practice and Remedies Code chapter 98B, and a

common law right to privacy. To establish likelihood of success on the merits, “the

plaintiff must present a prima facie case, but need not prove that he is entitled to

summary judgment.” 4 And to evaluate whether a plaintiff has presented a prima

facie case, courts look to the substantive standards supplied by the laws that give rise

to the plaintiff’s causes of action. 5




       1 Canal Auth. of Fla. V. Callaway, 489 F.2d 567, 572 (5th Cir. 1974).

       2   Id.
       3 Valley v. Rapides Parish School Bd., 118 F.3d 1047, 1051 (5th Cir. 1997); see also Winter v.

Nat. Res. Def. Couns., Inc., 555 U.S. 7, 20 (2008).
       4 Daniels Health Servs. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013).

       5 Sunbelt Rentals, Inc. v. Holley, 2022 U.S. Dist. LEXIS 48309, at 6–7 (N.D. Tex. Mar. 18, 2022)

(Godbey, C.J.) (citing Roho, Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990)).

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       Doe’s first claim arises under 15 U.S.C. § 6851, which provides a right of action

to victims of the nonconsensual disclosure of intimate visual depictions, or what is

often called “revenge porn”:

                an individual whose intimate visual depiction is disclosed,
                in or affecting interstate or foreign commerce or using any
                means or facility of interstate or foreign commerce, without
                the consent of the individual, where such disclosure was
                made by a person who knows that, or recklessly disregards
                whether, the individual has not consented to such
                disclosure. 6

This right of action allows individuals to pursue damages and equitable relief,

“including a temporary restraining order, a preliminary injunction, or a permanent

injunction ordering the defendant to cease display or disclosure of the visual

depiction.” 7

       The Court will walk through each element of the right of action. Under the

statute, an “intimate visual depiction” includes “the uncovered genitals,” among other

things. 8 Doe easily meets this element. In both his own affidavit and Dan Vencu’s

sworn declaration, the photo at issue is described as depicting an uncovered penis. 9

Doe attached screenshots of Serpa’s messages, including the image at issue, to his

motion. The messages Serpa sent immediately before the photo of genitalia clearly




       6 15 U.S.C. § 6851(b)(1)(A).

       7 Id. § 6851(b)(3)(A).

       8 Id. § 6851(a)(5).

       9 Docs. 10-4 at 3, 10-3 at 6.



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name Doe, 10 so he counts as the “depicted individual” under § 6851 by virtue of

“information displayed in connection with the visual depiction.” 11

       And when Serpa sent the photo and to Vencu, she disclosed it in or affecting

state commerce or using any means or facility of interstate or foreign commerce. The

statute defines “disclose” as “to transfer, publish, distribute, or make accessible.” 12

Sending the photo via private messaging transfers and distributes it. And sending

photographs over the internet “is tantamount to moving [them] across state lines and

thus constitutes transportation in interstate commerce.” 13

       Doe also states unequivocally in his affidavit that he sent the photo to Serpa

“with the understanding that it would remain private” and “did not consent to the

disclosure of the sexually explicit photograph to Dan Vencu, and its disclosure was

done without [his] knowledge.” 14

       The only element left is Serpa’s intent or recklessness. While we have no direct

evidence of Serpa’s mens rea, Doe has provided sufficient evidence to establish

Serpa’s knowledge that Doe did not consent or disregard of whether he did or not.

From the content of the messages Serpa sent to Vencu, she clearly sought to tarnish

Doe’s reputation in Vencu’s eyes. 15 This is the case even if everything she said is




       10 Doc. 10-3 at 9–13.

       11 15 U.S.C. § 6851(a)(3).

       12 15 U.S.C. § 6851(a)(4).

       13 U.S. v. Diehl, 775 F.3d 714, 721 (5th Cir. 2015).

       14 Doc. 10-4 at 1, 3.

      15 Doc. 10-3 at 9–13 (stating Doe “has a terrible reputation in Dallas” and accusing him of

numerous crimes and violent incidents).

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true. When the Court considers the messages Serpa sent to Doe on FaceBook, there

is certainly sufficient evidence to suggest she knew or disregarded Doe’s lack of

consent for her to share the photo. 16

        And finally, Doe has alleged sufficient harm: he states that he lost the chance

to work in his dream job, experienced emotional distress, and continues to suffer

reputational damage. Therefore, Doe succeeds on the likelihood of the merits of his

§ 6851 claim. Because this claim confers an express right to a preliminary injunction,

the Court does not need to continue to his state and common law claims. Doe satisfies

the first element.

     B. There is a substantial threat Doe will suffer irreparable harm.

        Doe must next establish that he will suffer irreparable harm without a

preliminary injunction. An injury is irreparable “if it cannot be undone through

monetary remedies.” 17 And the plaintiff must have more than an unfounded fear of

harm. 18 Here, Doe alleges harm in the loss of his lucrative prospective job, “severe

emotional distress, humiliation, anxiety, and damage to [his] professional

reputation.” 19

        Elsewhere, courts have considered the threat of further dissemination of

sexually explicit images to constitute irreparable harm because of the images’



        16 Doc. 10-4 at 7–9 (“I[‘]m now going to intrude into your life.
                                                                      You’ll be sorry! . . . . Your boss
has the penis pictures now. You [n]eed to grow up and act like a grown man.”).
        17 Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir.).


         Kidd v. Dir. Fed. Bureau Prisons, 2020 WL 759298, at *4 (N.D. Tex. Feb. 14, 2020)
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(Kacsmaryk, J.) (citing Holland v. Am. Ins. Co. v. Succession of Roy, 77 F.2d 992, 997 (5th Cir. 1985)).
        19 Doc. 10-4 at 5.



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uniquely sensitive nature. 20 Doe stated in his affidavit that he “fears further actions”

from Serpa, “particularly if she learns of this lawsuit.” 21 Based on Serpa’s FaceBook

messages that Doe attached, the Court agrees that it is likely she may further

disseminate the image she has in attempts to “intrude into [his] life” and make him

“sorry.” 22 Though the Court held no evidentiary hearing for Doe to expound on these

harms, Doe’s motion is unopposed and the Court finds his showing of irreparable

harm sufficient.

                 C. Doe’s threatened injury outweighs any harm a
                     preliminary injunction would cause Serpa.

        For the third element, the Court weighs the harm Doe faces without a

preliminary injunction against the harm the injunction would cause to Serpa. This

balance of equities weighs strongly in favor of Doe—even more so because Serpa

failed to appear and defend her potential interest. Doe seeks only to enjoin Serpa

from further disclosing the sexually explicit image of him she possesses.                                 A

preliminary injunction would ask nothing more of her than that she comply with the




         20 E.g. Doe v. Constant, 2024 WL 3512136, at *3 (W.D. La. July 23, 2024) (finding irreparable

harm when “Defendant;[was] continuing to attempt to engage Plaintiff without her consent and is
likely to escalate to further disclosure of her intimate visual depictions in the future”); S.S. v. Collins,
2020 WL 3594350, at *7 (D.N.J. July 31, 2024) (finding irreparable injury when an ex-girlfriend’s
repeated harassment of Plaintiff “pose[d] an imminent risk of continued dissemination of Plaintiff’s
images and videos”); Doe v. Unknown Party, 2024 WL 492231, at *3 (D. Ariz. Feb. 7, 2024) (“[A]bsent
emergency relief, there is an imminent risk of [Defendant]’s further nonconsensual disclosure of
Plaintiffs’ intimate visual depictions. The harms Plaintiffs allege from these disclosures—such as
emotional distress—are the type of harms that lack an adequate legal remedy.”).
        21 Doc. 10-4 at 5.

        22 Doc. 10-4 at 7.



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law. Further dissemination of the image would serve no lawful purpose, and Serpa

will not be harmed for refraining from doing so. 23

  D. A preliminary injunction would not undermine the public interest.

       And finally, a preliminary injunction prohibiting Serpa from distributing

sexually explicit images will do no harm to the public interest. For one thing, the

statute under which Doe sues expressly contemplates the issuance of preliminary

injunctions. 24

       In the event Serpa was honestly warning members of the public about a

dangerous man’s hidden past through LinkedIn communiqués, this preliminary

injunction will not stop her. It merely prohibits her from distributing the image.

Indeed, rather than harm the public interest, this preliminary injunction upholds

protections the federal and state governments expressly provide by law and protects

both Doe’s privacy and dignity and that of unsuspecting users of LinkedIn who would

prefer their inboxes free of penis pics.

                                           IV.Conclusion

       The Court GRANTS Doe’s motion for a preliminary injunction. As a result,

Serpa is RESTRAINED from directly or indirectly disclosing any sexually explicit

images or videos depicting John Doe; continuing to display or disclose any sexually

explicit images or videos of John Doe; destroying any evidence proving any prior



       23 Constant, 2024 WL 3512136, at *4 (“The Court can see no harm to Defendant in foregoing
further distribution or display of Plaintiff's intimate photographs. On the converse, the Court can
foresee a great deal of harm to Plaintiff should intimate visual images of her continue to be
disseminated. Accordingly, the balance of equities weighs heavily in favor of an injunction.”).
       24 15 U.S.C. § 6851(b)(3)(A)(ii).



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disclosure; and disclosing John Doe’s identity to anyone without permission from the

Court.

         Further, the Court once again ORDERS Doe to serve this Court’s order to

Serpa within 48 hours of the date of this order. Doe must file proof of service with

the Court.

         IT IS SO ORDERED this 29th day of January, 2025.




                                        ___________________________________
                                        BRANTLEY STARR
                                        UNITED STATES DISTRICT JUDGE




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